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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES -- GENERAL

Case No.      CV 18-9573-JFW(JPRx)                                                  Date: March 26, 2021

Title:        Federal Trade Commission -v- Apex Capital Group, et al.

PRESENT:
                HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                     None Present
              Courtroom Deputy                                   Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                       ATTORNEYS PRESENT FOR DEFENDANTS:
               None                                                    None

PROCEEDINGS (IN CHAMBERS):                  ORDER GRANTING RECEIVER’S UNOPPOSED MOTION
                                            TO EXTEND COMPLETION DEADLINE FOR
                                            RECEIVERSHIP [filed 3/5/21; Docket No. 169]

        On March 5, 2021, Receiver Thomas W. McNamara (“Receiver”) filed an Unopposed Motion to
Extend Completion Deadline for Receivership (“Motion”). Plaintiff and Defendants did not file
Oppositions.1 Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the
Court finds that this matter is appropriate for decision without oral argument. The hearing calendared
for April 5, 2021 is hereby vacated and the matter taken off calendar. After considering the moving
papers, and the arguments therein, the Court rules as follows:

         Pursuant to Local Rule 7-9, Plaintiff and Defendants were required to file and serve their
Oppositions or Notices of Non-Opposition “not later than twenty-one (21) days before the date
designated for the hearing of the motion.” See Local Rule 7-9. Local Rule 7-12 provides that “[t]he
failure to file any required document, or the failure to file it within the deadline, may be deemed consent
to the granting . . . of the motion.” See Local Rule 7-12. Plaintiff and Defendants have failed to file a
timely Opposition. Pursuant to Local Rule 7-12, the Court deems Plaintiff’s and Defendants’ failure to
file an Opposition or to otherwise comply with Local Rule 7-9 as consent to the granting of the
Receiver’s Motion.

       Accordingly, the Receiver’s Motion is GRANTED. Section XIII of the Stipulated Order for
Permanent Injunction and Monetary Judgment (Docket No. 120) is hereby modified to provide that the
deadline for the Receiver to complete his duties shall be September 11, 2021.

         IT IS SO ORDERED.




         1
        In his Motion, the Receiver states that counsel for the Federal Trade Commission does not
oppose to this Motion.

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